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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF KENTUCKY
                          COVINGTON DIVISION
  STATE OF TENNESSEE,
  COMMONWEALTH OF KENTUCKY,
  STATE OF OHIO, STATE OF INDIANA,
  COMMONWEALTH OF VIRGINIA, and
  STATE OF WEST VIRGINIA,

        Plaintiffs,

  and                                          Case No. 2:24-cv-00072-DCR-CJS
                                               District Judge Danny C. Reeves
  CHRISTIAN EDUCATORS ASSOCIA-                 Magistrate Judge Candace J. Smith
  TION INTERNATIONAL, and A.C., by
  her next friend and mother, Abigail Cross,

        Intervenor-Plaintiffs,


  v.

  MIGUEL CARDONA, in his official capac-
  ity as Secretary of Education, and UNITED
  STATES DEPARTMENT OF EDUCA-
  TION,

        Defendants.

               THE STATES’ OPPOSITION TO DEFENDANTS’ MOTION
                     FOR A PARTIAL STAY PENDING APPEAL
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                                          INTRODUCTION

         Defendants pushed forward to promulgate a sweeping Final Rule that prolifically misinter-

preted Title IX. This Court called Defendants’ legal failings to account in a thorough, 93-page opinion.

And it issued preliminary and geographically tailored relief to preserve the decades’ long, pre-rule

status quo and the rights of the Plaintiff States, their schools, and their citizens pending review.

         Now, Defendants seek a “partial stay” of the Court’s order granting preliminary relief to the

six Plaintiff States—an ask Defendants cast as “narrow[].” Stay Mot. 3. But in reality, Defendants’

proposal would preserve the faulty Bostock-based rewrite of Title IX that this Court rejected and that

would upend Title IX’s protections for women. On top of that, partially staying the Court’s relief

pending review would saddle the States and schools with a confusing and costly compliance scramble

to implement a partial rule whose proper reach remains in flux. Live hearing testimony this Court

credited confirms as much. This Court sensibly reasoned that the upshot of the States’ prevailing at

the preliminary phase should be to stave off their imminent compliance harms, not double those

harms with duplicative obligations to train hundreds of thousands of school employees both now and

later.

         The scope of this Court’s preliminary relief makes eminent sense in view of the proper reading

of Title IX, administrative-law principles, and the equities and facts of this case. Defendants do not

carry their “heavy burden” to justify their proposed “intrusion into the ordinary processes of admin-

istration and judicial review.” Kentucky v. Biden, 23 F.4th 585, 593 (6th Cir. 2022) (citation omitted).

Their “partial stay” motion should be denied.

                                         LEGAL STANDARD

         Under Federal Rule of Civil Procedure 62, whether to stay an injunction pending appeal lies

within this Court’s “judicial discretion” and depends “upon the circumstances of the particular case.”


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Nken v. Holder, 556 U.S. 418, 433 (2009) (citation omitted) (cited at Stay Mot. 2). This Court assesses

the same four factors that govern the preliminary injunction and 5 U.S.C. § 705 inquiry. To obtain

relief, Defendants must carry the “heavy burden of demonstrating that a stay is warranted,” including

by making a “strong showing that [they are] likely to succeed on the merits.” Ohio State Conf. of NAACP

v. Husted, 769 F.3d 385, 389 (6th Cir. 2014) (alteration in original) (quoting Nken, 556 U.S. at 434)

(denying stay) (cited at Stay Mot. 2).

                                            ARGUMENT

        Defendants’ stay motion (at 3, 8) asks this Court to permit the Final Rule to take effect August

1, save only for two exceptions. First, Defendants do not contest continued injunction of the so-called

“de minimis harm” regulation—i.e., the provision specifying that it is gender-identity discrimination

to divide intimate spaces by sex rather than gender identity. See Stay Mot. 3, 8. Second, Defendants

likewise accede to the Court’s relief against any application of the sexual harassment provision to

gender identity. See id.   None of the stay factors—merits, harms, or equities—favor Defendants’

proposed partial stay and the confusing compliance fallout that would result.

I.      The Scope of the Injunction Reflects the Final Rule’s Pervasive Legal Problems.

        Defendants’ merits argument centers on their view that this Court can readily cabin defective

provisions of the Final Rule and permit the remainder to take effect now. Indeed, Defendants go so

far as to insist that the core provision implementing its Bostock-based reading that sex discrimination

includes gender identity discrimination—34 C.F.R. § 106.10—should stay in place despite this Court’s

preliminary relief. Defendants’ merits arguments do not work.

        A.      Remedial Principles Support Preliminarily Enjoining the Entire Rule.

        Defendants (at 3-4) assert that the vast majority of the Final Rule’s provisions have “nothing

to do with gender identity.” Those unrelated provisions, Defendants assert, should take effect on

August 1 by virtue of the Final Rule’s severability clauses. This argument has at least three problems.
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        First, Defendants offer no authority for the proposition that a court must perform a roving

severability analysis through hundreds of discrete regulatory requirements at the preliminary injunction

phase. American Fuel & Petrochemical Manufacturers v. EPA, 3 F.4th 373 (D.C. Cir. 2021) (cited at Stay

Mot. 4), involved severance at final judgment. By contrast, at this preliminary stage, the Court enjoys

“wide latitude when crafting the scope of … temporary relief to fit the equities of a case.” Doster v.

Kendall, 54 F.4th 398, 442 (6th Cir. 2022) (citing Trump v. Int’l Refugee Assistance Project, 582 U.S. 571,

579) (2017)), vacated on mootness grounds, 114 S. Ct. 481 (2023) (Mem.); accord Stryker Emp. Co., LLC v.

Abbas, 60 F.4th 372, 382 (6th Cir. 2023). And “[c]ourts have recognized that this status-quo relief

might look broader than the ultimate relief.” Doster, 54 F.4th at 442; see also Balow v. Mich. State Univ.,

24 F.4th 1051, 1061 (6th Cir. 2022). Here, the Court’s injunction appropriately reflects the confusing

and unduly expensive compliance obligations a partial rule rollout would place on regulated parties.

See infra p. 8. That dual-track compliance problem persists even accepting that certain provisions could

later be severed. Defendants give no good reason why courts must ignore the realities of what com-

pliance entails and embark on a premature severability analysis that determines parties’ obligations in

a manner that may change over the course of the case.

        Second, and as this Court explained (Mem. Op. 90), Defendants err by suggesting (at 4) that it

is simple to disentangle Defendants’ flawed Title IX interpretation from the hundreds of “remaining

regulations” and requirements. As for hostile-environment harassment, this Court enjoined the defi-

nition as unlawful based on problems, like vagueness, that extend beyond its application to gender-

identity discrimination. Mem. Op. 50-56. Nor have Defendants adequately addressed how to go

about parsing the prohibition on gender-identity discrimination from other provisions at this stage.

In contrast to cases (like American Fuel) involving entirely “separate actions” by an agency rule that




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“operate[] independently from the other,” 3 F.4th at 384 (citation omitted), the Final Rule’s flawed

conception of “sex” discrimination is embedded within a swath of schools’ remaining obligations.

        Consider just a few of the examples Defendants (at 3-4) say are unrelated to gender-identity

issues. Recipients’ “notice and record-keeping obligations” require them to keep, for seven years, any

records relating to the outcome of investigations for “each complaint of sex discrimination”; recipients

also must maintain any notice to a Title IX coordinator of “information about conduct that reasonably

may constitute sex discrimination.” 34 C.F.R. § 106.8(f) (cited at Stay Mot. 3-4). Each obligation

turns on the meaning of “sex discrimination”—the disputed issue. That meaning likewise critically

affects provisions about recipients’ proper “response to sex discrimination” or “grievance procedures

for claims of sex discrimination.” Stay Mot. 4 (citing 34 C.F.R. §§ 106.44-46). Asking educational

staff to immediately implement these obligations regarding “sex discrimination,” without advising

them what “sex discrimination” lawfully entails under Title IX, would not result in a regime that

“function[s] sensibly.” MD/DC/DE Broads. Ass’n v. FCC, 236 F.3d 13, 22 (D.C. Cir. 2001).

        Third, Defendants have not made a “strong” showing that any severability exercise, even if

required now, would in fact come out their way. Ohio State Conf. of NAACP, 769 F.3d at 389 (quoting

Nken, 556 U.S. at 434). Defendants (at 4) rest exclusively on the Final Rule’s brief and boilerplate

severability discussion and provisions. But a “severability provision” cannot “solve[] the agency’s

problem” when a rule’s remainder would function in an arbitrary and capricious or ill-explained man-

ner. Ohio v. EPA, No. 23A349, 603 U.S. ---, 2024 WL 3187768, at *8 (U.S. June 27, 2024). And here,

the Final Rule justifies its significant costs in great part by referencing the benefits it claims from the

broad gender-identity mandates. 89 Fed. Reg. at 33,861-62. The Final Rule does not meaningfully

“address” how that cost-benefit calculus could work without most of the discrimination provisions in

place. Ohio, 2024 WL 3187768, at *8. If anything, given the Final Rule’s focus on implementing the


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Administration’s cross-cutting view of what Bostock requires, there is “substantial doubt” the Depart-

ment would have adopted the rule’s remaining portions “without the prohibition[]” on gender-identity

discrimination. Mayor of Baltimore v. Azar, 973 F.3d 258, 292 (4th Cir. 2020) (citation omitted). After

all, “effectuat[ing] Title IX’s sex discrimination prohibition” is the Final Rule’s principal reason for

being. 89 Fed. Reg. at 33,476.

       B.      The Bostock Regulation Is Unlawful and Harms the States.

       Defendants (at 5-6) next argue that this Court should permit the Bostock provision (34 C.F.R.

§ 106.10) to take effect as planned. That is so, they continue, because § 106.10 is “not the cause” of

the States’ alleged harms. Stay Mot. at 5. This makes no sense.

       Section 106.10 is the lead provision that implements Defendants’ importation of Bostock into

the Title IX context: It instructs that “discrimination on the basis of sex includes discrimination on

the basis of sex stereotypes, sex characteristics, pregnancy or related conditions, sexual orientation,

and gender identity.” That is the core Final Rule flaw—deeming “discrimination on the basis of

gender identity” and other “sex characteristics” as “a form of prohibited sex discrimination,” Stay

Mot. 6—the States challenged and this Court rejected. See Mem. Op. 16-28. Indeed, Defendants

elsewhere acknowledge as much: They note that the States’ challenge “concern[ed] applications of …

the scope of prohibited discrimination in § 106.10.” Stay Mot. 3 (emphasis added). Relief permitting

Defendants’ unlawful rewrite of Title IX’s “sex” discrimination provision would be no relief at all.

       Defendants’ response (at 5) that the States do not “intend to engage in discrimination against

students” for “simply … being transgender,” “pregnant,” or “gay” is right but irrelevant given De-

fendants’ settled view about what “discrimination” means. For years, federal officials have advanced

the position—across a number of avenues—that Title IX’s reference to “sex” discrimination itself




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means schools must treat students in line with their gender identities rather than sex, including when

it comes to use of sex-separated facilities and pronouns. A small sampling1:

           2016 Department of Education Dear Colleague Letter: Schools must allow
            transgender students to access restrooms, locker rooms, shower facilities, housing, and
            athletic teams consistent with their gender identity.

           2021 Department of Education Fact Sheet: Discrimination based on “gender identity
            is a form of sex discrimination prohibited by federal law” and includes preventing “a
            transgender high school girl” from using “the girls’ restroom” or failing to use a
            transgender student’s preferred name or pronouns.

           2021 DOJ Amicus Brief: A school accommodation that would allow teachers to refer to
            students only by last names in order to avoid “refer[ring] to transgender students [con-
            sistent] with their gender identity” increased risk of liability under Title IX.

           2023 DOJ Statement of Interest: State law prohibiting students from using restrooms
            and changing facilities consistent with their gender identity violated Title IX.

           2023 Department of Education Arlington Community Schools (TN) Investigation:
            Investigating school district for Title IX violations where student was not permitted to use
            restroom facilities matching student’s gender identity and where school did not use stu-
            dent’s new gender-preferred name in official school records.

           2024 DOJ Amicus Brief: A state statute requiring athletes to compete on teams corre-
            sponding to biological sex violates Title IX’s ban on discrimination “on the basis of sex.”

This track record leaves no doubt that preserving § 106.10’s general gender-identity provision would

require the States, their schools, and their citizens to submit to the same gender-identity mandates this

Court deemed plainly invalid. Because those mandates “flow” directly from Defendants’ distorted


        1
           See U.S. Dep’t of Educ., Off. for Civ. Rights, Dear Colleague Letter on Transgender Students 3-4
(May 13, 2016), https://perma.cc/G5VG-ZNV9; U.S. Dep’t of Justice and U.S. Dep’t of Educ., Civ.
Rights Div. & Off. for Civ. Rights, Confronting Anti-LGBTQI+ Harassment in Schools: A Resource for
Students and Families (Fact Sheet) (June 23, 2021), https://perma.cc/F644-8GBC; U.S. Dep’t of Justice,
Civ. Rights Div., Amicus Brief, Kluge v. Brownsburg Comty. Sch. Corp., Case No. 21-2475, at 31 (7th Cir.
Nov. 8, 2021), https://perma.cc/K46S-LLVA; U.S. Dep’t of Justice, Statement of Interest, Roe v.
Critchfield, Case No. 1:23-cv-315, ECF No. 41 at 3 (D. Idaho Aug. 8, 2023); U.S. Dep’t of Educ., Off.
for Civ. Rights Letter (May 16, 2023), Reply Ex. C, Doc. # 92-3; U.S. Dep’t of Justice, Civ. Rights
Div., Amicus Brief, B.P.J. ex rel. Jackson v. West Virginia, Case Nos. 23-1078, 23-1130, ECF No. 33-1 at
21-29 (4th Cir. Apr. 3, 2024).

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view of what discrimination means under Title IX, exclusively enjoining § 106.31(a)(2)’s “permissible

sex-separation” regulation and § 106.2’s definition of hostile-environment harassment (Stay Mot. 5)

would be a half measure easily evaded.

II.     The Scope of the Injunction Appropriately Addresses the States’ Irreparable Harm and
        the Equities.

        As this Court recognized, the balance of harms and the equities tilt decisively in the States’

favor. Mem. Op. 88. On one hand, the States have established that they would suffer immense

irreparable injuries in the absence of preliminary relief, id. at 79-88, and “the public interest lies in a

correct application” of the law,” id. at 88 (quoting Coalition to Defend Affirmative Action v. Granholm, 473

F.3d 237, 252 (6th Cir. 2006)). On the other, given that Title IX has been read the States’ way “un-

changed for approximately 50 years,” maintaining the status quo pending the ultimate disposition of

this lawsuit—which the States are seeking expeditiously, see, e.g., Doc. # 106 at 1-2—will be of “rela-

tively little harm to others.” Mem. Op. 88.

        Defendants’ stay motion does not discuss the Court’s findings that the States established sev-

eral irreparable injuries, including “extraordinary” compliance costs. Id. at 82; see also id. at 79-88.

Instead, Defendants (at 7) argue that those harms don’t support enjoining the entire Final Rule, in-

cluding § 106.10’s directive that sex discrimination includes gender identity discrimination. But as

discussed supra p. 5, the States challenged—and established harm flowing from—the Department’s

redefinition of sex discrimination and associated harassment provision, including the application of that

unlawful definition to bathrooms, locker rooms, and other facilities. See, e.g., Mem. Op. 79-82 (dis-

cussing compliance costs related to developing and adopting new policies, training, and increased Title

IX complaints resulting, at least in part, from this definition); id. at 86-87 (discussing conflicts between

the Final Rule and State laws); see also Compl. ¶¶ 187-220. And the States would continue to suffer

the same harm should this regulation stay on the books. See supra p. 6.

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        Defendants (at 7) are also wrong that enjoining the Final Rule’s implementation on a piecemeal

basis would not harm the States. The testimony the States adduced at the preliminary injunction

hearing was clear: Forcing schools to implement the Final Rule at different times would require “more

time and more money spent training” and “could be incredibly confusing to districts.” Doc. # 109 at

22:5-7 (testimony of Christy Ballard, General Counsel, Tennessee Department of Education). The

challenges would be greater still if it was not “very clear” what parts of the Rule districts would need

to “implement[]” and “train[] on.” Id. at 3-5. Yet Defendants apparently see no problem with requir-

ing States to train (partially) and then re-train (fully) hundreds of thousands of employees on their

Title IX obligations—all at the States’ unrecoverable expense. Or with asking untold hundreds of

school districts to adjust affected policies back and forth following public meetings, Mem. Op. 80—

perhaps mid-school year.

        Defendants nonetheless fail to account for the obvious and exorbitantly costly compliance

problems their partial stay would create. Those considerations are reason enough to reject the partial-

stay motion on the equities. Cf. Ohio State Conf. of NAACP, 769 F.3d at 389-90 (declining to issue a

stay when doing so would “add to the confusion” among affected parties and potentially put regulated

officials in a “position of trying to communicate” multiple, conflicting instructions over the course of

the case). Defendants point to no authority indicating that a court abuses its “wide latitude” to craft

preliminary relief by maintaining the pre-rule status quo to preserve a regulated party’s rights, Doster,

54 F.4th at 442—let alone when a rule’s unlawful requirements are intertwined with the rest of the

rule and when the party’s harm rests in part on extensive compliance obligations that will increase in

number, expense, and complexity if the rule takes effect in pieces.

                                           CONCLUSION

         This Court should deny Defendants’ motion for a partial stay of the injunction.


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Dated: June 28, 2024                            Respectfully Submitted,

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                                  CERTIFICATE OF SERVICE

       I certify that on June 28, 2024, the above document was filed with the CM/ECF filing system,

which provided copies of the foregoing to all counsel of record.



                                                              /s/ Whitney D. Hermandorfer
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